Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 1 of 37




            EXHIBIT E
Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 2 of 37




                  KAPLAN FOX & KILSHEIMER LLP




                                FIRM PROFILE




 850 Third Avenue, 14th Floor                  350 Sansome Street, Suite 400
  New York, New York 10022                      San Francisco, CA 94104
      Tel.: 212.687.1980                            Tel.: 415.722.4700
      Fax: 212.687.7714                             Fax: 415.772.4707
        Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 3 of 37




History of Kaplan Fox & Kilsheimer LLP


       Leo Kaplan and James Kilsheimer founded “Kaplan & Kilsheimer” in 1954, making the

firm one of the most established litigation practices in the country. James Kilsheimer was a

celebrated federal prosecutor in the late 1940s and early 1950s in New York who not only

successfully tried some of the highest profile cases in the country, but also handled the U.S.

Attorney’s Office’s criminal appeals to the Second Circuit.

       Now known as “Kaplan Fox & Kilsheimer LLP,” the early commitment to high-stakes

litigation continues to define the firm to the present day. In 2009, Portfolio Media’s Law360

ranked Kaplan Fox’s securities litigation practice as one of the top 5 in the country (plaintiff side),

and again in July 2014, the Legal 500 ranked Kaplan Fox as one of the top eight plaintiff’s firms

for securities litigation. In March 2013, the National Law Journal included Kaplan Fox on its list

of the top 10 “hot” litigation boutiques, a list that includes both plaintiff and defense firms. In

2014, 2015 and 2016, more than half of the firm’s partners – including attorneys on both coasts –

were rated “Super Lawyers.”

       The firm has three primary litigation practice areas (antitrust, securities, and consumer

protection), and the firm is a leader in all three. To date, we have recovered more than $5 billion

for our clients and classes. In addition, the firm has expanded its consumer protection practice to

include data privacy litigation, and few other firms can match Kaplan Fox’s recent leadership in

this rapidly emerging field. The following describes Kaplan Fox’s major practice areas, its most

significant recoveries and its attorneys.




                                                  1
         Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 4 of 37




Securities Litigation
         Over the past 35 years, Kaplan Fox has been a leader in prosecuting corporate and securities
fraud —ranging from cases concerning accounting fraud to those involving complicated and
complex financial instruments. Since the passage of the Private Securities Litigation Reform Act
in 1995, Kaplan Fox has emerged as one of the foremost securities litigation firms representing
institutional investors of all sizes, including many of the world’s largest public pension funds.
         Kaplan Fox’s selection by Portfolio Media’s Law360 as one of the five top securities
litigation firms (plaintiff side) for 2009 was based, in part, on the representation of public pension
funds in high profile and complex securities class actions, including In re Merrill Lynch & Co.,
Inc. Securities, Derivative & ERISA Litigation; In re Bank of America Corp. Sec., ERISA &
Derivative Litigation; In re Fannie Mae Securities Litigation; and In re Ambac Financial Group,
Inc. Securities Litigation. Some of the firm’s most significant securities recoveries are listed
below:


         In re Bank of America Corp. Securities, Derivative, and ERISA Litigation, MDL No.
         2058 (S.D.N.Y.) ($2.425 billion recovered)


         In re Merrill Lynch & Co., Inc. Securities Litigation, Master File No. 07-CV-9633
         (JSR) (S.D.N.Y.) ($475 million recovered)


         In re 3Com Securities Litigation, No. C-97-21083-EAI (N.D. Ca) ($259 million
         recovered)


         In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831 (PAC) (S.D.N.Y.) ($170
         million recovered)


         In re MicroStrategy Securities Litigation, No. CV-00-473-A (E.D. Va.) ($155 million
         recovered)


         AOL Time Warner Cases I & II (Opt-out) Nos. 4322 & 4325 (Cal. State Court, LA
         County) ($140 million recovered)



                                                  2
Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 5 of 37




In re Informix Securities Litigation, C-97-129-CRB (N.D. Cal.) ($136.5 million
recovered)


In re Xcel Energy, Inc. Securities Litigation, Master File No. 02-CV-2677-DSD (D.
Minn.) ($80 million recovered)


In re Elan Corporation Securities Litigation, No. 02-CV-0865-RMB (S.D.N.Y.) ($75
million recovered)


In re Sequenom, Inc. Securities Litigation No. 09-cv-921 (S.D. Cal.) ($70 million
recovered)


Barry Van Roden, et al. v. Genzyme Corp., et al., No. 03-CV-4014-LLS (S.D.N.Y.)
($64 million recovered)




                                     3
        Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 6 of 37




Antitrust Litigation
       Kaplan Fox has been at the forefront of significant private antitrust actions, and we have been
appointed by courts as lead counsel or members of an executive committee for plaintiffs in some of
the largest antitrust cases throughout the United States. This commitment to leadership in the antitrust
field goes back to at least 1967, when firm co-founder Leo Kaplan was appointed by the Southern
District of New York to oversee the distribution of all ASCAP royalties under the 1950 antitrust
consent decree in United States v. American Society of Composers, Authors and Publishers, 41-
CV-1395 (SDNY), a role he held for 28 years until his death in 1995. To this day, ASCAP awards
the “Leo Kaplan Award” to an outstanding young composer in honor of Leo’s 28 years of service to
ASCAP.
       Members of the firm have also argued before federal Courts of Appeals some of the most
significant decisions in the antitrust field in recent years. For example, Robert Kaplan argued the
appeal in In re Flat Glass Antitrust Litigation, 385 F. 3d 350 (3d Cir. 2004), and Greg Arenson
argued the appeal in In re High Fructose Corn Syrup Antitrust Litigation, 295 F. 3d 651 (7th Cir.
2002). In a relatively recent survey of defense counsel, in-house attorneys, and individuals involved
in the civil justice reform movement, both were named among the 75 best plaintiffs’ lawyers in the
country based on their expertise and influence.
       Over the years, Kaplan Fox has recovered over $2 billion for our clients in antitrust cases.
Some of the larger antitrust recoveries include:


       In re Air Cargo Shipping Services Antitrust Litigation, MDL 1775 (E.D.N.Y.) (settled
       during trial preparation, for total settlement of more than $1.25 billion)


       In re Neurontin Antitrust Litigation, MDL No. 1479, Master File No. 02-1390 (D.N.J.)
       ($190 million recovered)


       In re High Fructose Corn Syrup Antitrust Litigation, MDL No. 1087, Master File No.
       95-1477 (C.D. Ill) ($531 million recovered)


       In re Brand Name Prescription Drugs Antitrust Litigation, MDL 997 (N.D. Ill.) ($720
       plus million recovered)



                                                   4
Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 7 of 37




In re Infant Formula Antitrust Litigation, MDL 878 (N.D.Fla.) ($126 million
recovered)


In re Flat Glass Antitrust Litigation, MDL 1200 (W.D. Pa.) ($122 plus million
recovered)


In re Hydrogen Peroxide Antitrust Litigation, MDL 1682 (E.D. Pa.) ($97 million
recovered)


In re Plastics Additives Antitrust Litigation, 03-CV-1898 (E.D. Pa.) ($46.8 million
recovered)


In re Medical X-Ray Film Antitrust Litigation, CV 93-5904 (E.D.N.Y.) ($39.6 million
recovered)


In re NBR Antitrust Litigation, MDL 1684 (E.D. Pa.) ($34.3 million recovered)




                                      5
        Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 8 of 37




Consumer Protection and Data Privacy Litigation
        The consumer protection practice is headquartered in Kaplan Fox’s San Francisco office,
which opened in 2000, and is led by Laurence King, an experienced trial lawyer and former
prosecutor. Mr. King also recently served as a Vice-Chair, and then Co-Chair, of the American
Association for Justice’s Class Action Litigation Group.
        Mr. King and our other effective and experienced consumer protection litigators regularly
champion the interests of consumers under a variety of state and federal consumer protection laws.
Most frequently, these cases are brought as class actions, though under certain circumstances an
individual action may be appropriate.
        Kaplan Fox’s consumer protection attorneys have represented victims of a broad array of
misconduct in the manufacturing, testing, marketing, and sale of a variety of products and services
and have regularly been appointed as lead or co-lead counsel or as a member of a committee of
plaintiffs’ counsel in consumer protection actions by courts throughout the nation. Among our
significant achievements are highly recognized cases including In re Baycol Products Litigation,
MDL 1431-MJD/JGL (D. Minn.) (victims have recovered $350 million recovered to date); In re
Providian Financial Corp. Credit Card Terms Litigation, MDL No. 1301-WY (E.D. Pa.) ($105
million recovered); In re Thomas and Friends Wooden Railway Toys Litig., No. 07-cv-3514
(N.D. Ill.) ($30 million settlement obtained for purchasers of recalled “Thomas Train” toys painted
with lead paint); In re Pre-Filled Propane Tank Marketing and Sales Practices Litigation, No.
4:09-md-2086 (W.D. Mo.) (settlements obtained where consumers will receive substantially in
excess of actual damages and significant injunctive relief); Berry v. Mega Brands Inc., No. 08-
CV-1750 (D.N.J.) (class-wide settlement obtained where consumers will receive full refunds for
defective products) and David Wolf, et al. v. Red Bull GmBH, et al., No. 1:13-cv-08008
(S.D.N.Y.) ($13 million settlement fund obtained for purchasers of Red Bull energy drink).
        Data privacy is a fairly new area of law and broadly encompasses two scenarios. In a data
breach case, a defendant has lawful custody of data, but fails to safeguard it or use it in an
appropriate manner. In a tracking case, the defendant intercepts or otherwise gathers digital data
to which it is not entitled in the first place.
        Kaplan Fox is an emerging leader in both types of data privacy litigation. For example,
Laurence King filed and successfully prosecuted one of very first online data breach cases, Syran
v. LexisNexis Group, No. 05-cv-0909 (S.D. Cal.), and was court-appointed liaison counsel in a



                                                  6
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 9 of 37




recently successfully concluded data breach case against LinkedIn. See In re: LinkedIn User
Privacy Litigation, 12-cv-3088-EJD (N.D. Cal.) (Davila, J.). The firm is also leading a data
privacy case against Universal Property & Casualty Insurance Company related to the public
exposure of sensitive customer data. See Rodriguez v. Universal Property & Cas. Ins. Co., 16-cv-
60442-JK (S.D. Fla.). (motion to dismiss denied Aug. 19, 2016). The firm is also an industry leader
in the even newer field of email and internet tracking litigation. Current cases include In re:
Facebook Internet Tracking Litigation, 5:12-md-02314-EJD (N.D. Cal.) (Davila, J.) regarding
the now discontinued practice of tracking internet users post-logout, In re: Google Inc. Cookie
Placement Consumer Privacy Litig., 12-MD-2358-SLR CD. Del.) (Kaplan Fox appointed to
plaintiffs’ steering committee) regarding the circumvention of privacy settings on safari browsers,
and litigation against Horizon Blue Cross Blue Shield in which the firm recently obtained a pro-
privacy ruling from the third Circuit. In re: Horizon Healthcare Data Breach Litig., No. 15-2309
(3d Cir.). In addition, Kaplan Fox was appointed Co-Lead Class Counsel in a digital privacy class
action against Yahoo!, Inc., related to Yahoo’s alleged practice of scanning emails for content,
which was recently settled, pending court approval. See In re: Yahoo Mail Litigation, 5:13-cv-
04980-LHK (N.D. Cal.)




                                                7
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 10 of 37




ATTORNEY BIOGRAPHIES

PARTNERS
        ROBERT N. KAPLAN is widely recognized as a leading antitrust and securities litigator
with more than 40 years of experience in securities, antitrust, and other complex litigation. He has
led the prosecution of numerous class actions and shareholder derivative actions, recovering
billions of dollars for the victims of corporate wrongdoing. Mr. Kaplan was recently listed by
defense and corporate counsel as one of the top 75 plaintiffs’ attorneys in the United States for all
disciplines, and he has also been ranked as one of the top attorneys in the United States for
securities litigation by Legal 500 in each of the last three years. He also has earned a reputation
as a leading litigator in the antitrust arena. Mr. Kaplan honed his litigation skills as a trial attorney
with the U.S. Department of Justice. Mr. Kaplan was recognized as Super Lawyer in the New
York Metro Area. He was lead counsel for CalPERS in AOL Time Warner Cases I & II (Ca. Sup.
Ct., L.A. Cty.), and was a lead in In re Merrill Lynch & Co., Inc. Securities, Derivative & ERISA
Litigation, In re Escala Securities Litigation and In re Bank of America Corp. Securities Litigation,
in which a settlement in the amount of $2.425 billion and corporate governance changes was
approved by the Court.
        In the antitrust arena, he has been a lead counsel in many significant actions. He is a lead
counsel in In re Air Cargo Antitrust Litigation (more than $1.25 billion in settlements) and was
recently appointed by Courts as lead counsel in the DIPF Antitrust Litigation, In re Cast Iron Soil
Pipe and Fittings Antitrust Litigation, and In re Keurig Green Mountain Single-Serve Coffee
Antitrust Litigation.
        He also represents clients in private antitrust actions, including Affiliated Foods, Inc.,
Associated Grocers of New England, Inc., the McLane Company, Inc., Giant Eagle, Inc., North
Central Distributors, LLC, Cash-Wa Distributing Co. of Kearney, Inc., URM Stores, Inc., Western
Family Foods, Inc., and Associated Food Stores, Inc., among others, in individual cases against
Tri-Union Seafoods, LLC, d/b/a Chicken of the Sea, King Oscar, Inc., Bumble Bee Foods, LLC
f/k/a Bumble Bee Seafoods, LLC, and StarKist Co., in In re Packaged Seafood Products Antitrust
Litigation, MDL No. 2670 (S.D. Cal.).
        He previously served as lead counsel or member of the Executive Committee in numerous
plaintiff treble damage actions including In re Neurontin Antitrust Litigation, MDL No. 1479,
Master File No. 02-1390 (D.N.J.) ($190 million recovered); In re High Fructose Corn Syrup


                                                   8
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 11 of 37




Antitrust Litigation, MDL No. 1087, Master File No. 95-1477 (C.D. Ill) ($531 million recovered);
In re Brand Name Prescription Drugs Antitrust Litigation, MDL 997 (N.D. Ill.) ($720 plus million
recovered); In re Infant Formula Antitrust Litigation, MDL 878 (N.D. Fla.)($126 million
recovered); In re Flat Glass Antitrust Litigation, MDL 1200 (W.O. Pa.) ($122 plus million
recovered) (Mr. Kaplan successfully argued an appeal before the U.S. Court of Appeals for the
Third Circuit, which issued a ground-breaking and often-cited summary judgment opinion. In re
Flat Glass Antitrust Litigation, 191 F.R.D. 472, 476 n. 7 (W.D.Pa.1999)); In re Hydrogen Peroxide
Antitrust Litigation, MDL 1682 (E.D. Pa.)($97 million recovered); In re Plastics Additives
Antitrust Litigation, 03-CV-1898 (E.D. Pa.) ($46.8 million recovered); In re Medical X-Ray Film
Antitrust Litigation, CV 93-5904 (E.D.N.Y.) ($39.6 million recovered); and In re NBR Antitrust
Litigation, MDL 1684 (E.D. Pa.) ($34.3 million recovered).
       Mr. Kaplan is also representing financial institutions across the country in data breach cases
against Home Depot and is a member of the Plaintiffs’ Steering Committee.
       Mr. Kaplan was a trial attorney with the Antitrust Division of the U.S. Department of
Justice. There, he litigated civil and criminal actions. He also served as law clerk to the Hon.
Sylvester J. Ryan, then chief judge of the U.S. District Court for the Southern District of New York
and served as an acting judge of the City Court for the City of Rye, N.Y.
       In addition to his litigation practice, he has also been active in bar and legal committees.
For more than fifteen years, he has been a member of what is now known as the Eastern District
of New York’s Courts Committee on Civil Litigation.
       Mr. Kaplan has also been actively involved in the Federal Bar Council, an organization of
judges and attorneys in the Second circuit and is a member of the Program and Winter Planning
Committees. For the Program Committee, in 2013, he organized a class action program. Recently,
in April of 2015, he organized a program on Antitrust Cartels which was moderated by Hon. Lewis
Kaplan and included as panelists the Assistant Chief of the New York office of the Antitrust
Division. In 2013, at the Federal Bar Council’s winter meeting, he organized a program on class
actions, which was moderated by Hon. Raymond Lohier of the Second Circuit. He is currently
planning a program with Chief Judge Robert Katzmann of the Second Circuit to take place on
January 20, 2016 concerning Statutory Construction.
       Recently Mr. Kaplan was invited by the United States Judicial Center and participated in a
multi-day seminar for federal judges about complex litigation.



                                                 9
      Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 12 of 37




       In addition, Mr. Kaplan has served as a member of the Trade Regulation and Federal Courts
Committees of the Association of the Bar of the City of New York.
       Mr. Kaplan’s published articles include: “Complaint and Discovery In Securities Cases,”
Trial, April 1987; “Franchise Statutes and Rules,” Westchester Bar Topics, Winter 1983; “Roots
Under Attack: Alexander v. Haley and Courlander v. Haley,” Communications and the Law, July
1979; and “Israeli Antitrust Policy and Practice,” Record of the Association of the Bar, May 1971.
       Mr. Kaplan sits on the boards of several organizations, including the Columbia Law School
Board of Visitors, Board of Directors of the Carver Center in Port Chester, N.Y., and Member of
the Dana Farber Visiting Committee, Thoracic Oncology in Boston, MA.
   Education:
       ▪   B.A., Williams College (1961)
       ▪   J.D., Columbia University Law School (1964)
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of New York (1964)
       ▪   U.S. Supreme Court
       ▪   U.S. Courts of Appeals for the Second, Third, Seventh, Ninth, Tenth and Eleventh
           Circuits
       ▪   U.S. District Courts for the Southern, Eastern, and Northern Districts of New York, the
           Central District of Illinois, and the District of Arizona
   Professional Affiliations:
       ▪   Committee to Support the Antitrust Laws (past President)
       ▪   National Association of Securities and Commercial Law Attorneys (past President)
       ▪   Advisory Group of the U.S. District Court for the Eastern District of New York
       ▪   American Bar Association
       ▪   Association of Trial Lawyers of America (Chairman, Commercial Litigation Section,
           1985-86)
       ▪   Association of the Bar of the City of New York (served on the Trade Regulation
           Committee; Committee on Federal Courts)
Mr. Kaplan can be reached by email at: RKaplan@kaplanfox.com




                                                 10
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 13 of 37




       FREDERIC S. FOX first associated with Kaplan Fox in 1984 and became a partner in the
firm in 1991. For over 30 years, he has concentrated his work in the area of class action litigation.
Mr. Fox has played important roles in many major class action cases. He was one of the lead trial
lawyers in two securities class actions, one of which was the first case tried to verdict under the
Private Securities Litigation Reform Act of 1995.
       Mr. Fox has played a lead role in many major securities class action cases, including as a
senior member of the litigation and trial team in In re Bank of America Corp. Securities, ERISA,
& Derivative Litigation, No. 09-MDL-2058 (S.D.N.Y.) (“In re Bank of America”). The case arose
out of Bank of America’s acquisition of Merrill Lynch. In re Bank of America settled for $2.425
billion plus significant corporate governance reforms and stands as one of the largest securities
class action settlements in history. In In re Bank of America Mr. Fox served as lead counsel on
behalf of major public pension funds.
       Mr. Fox currently represents many institutional investors including governmental entities
in both class actions and individual litigation. Mr. Fox is currently leading the team of attorneys
prosecuting an individual opt-out action on behalf of a public pension fund arising out of the fraud
at Petrobras in Brazil. Other significant cases in which Mr. Fox served as lead counsel include: In
re Merrill Lynch & Co., Inc. Securities, Derivative, & ERISA Litigation, No. 07-cv-9633
(S.D.N.Y.)(in which he was the primary attorney responsible for negotiating the $475 million
settlement); In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831 (S.D.N.Y.) (“In re
Fannie Mae 2008”) ($170 million settlement); In re SunPower Securities Litigation, Case No. 09-
cv-5473 (N.D. Cal.); In re Merrill Lynch Research Reports Securities Litigation (S.D.N.Y.)
(arising from analyst reports issued by Henry Blodget); In re Salomon Analyst Williams Litigation
(S.D.N.Y.) and In re Salomon Focal Litigation (S.D.N.Y.) (both actions stemming from analyst
reports issued by Jack Grubman). Mr. Fox has also handled derivative cases seeking corporate
governance reform and other shareholder litigation on behalf of public pension funds asserting
state law and foreign causes of action. Mr. Fox is a frequent speaker and panelist in both the U.S
and abroad on a variety of topics including securities litigation and corporate governance.
       In the consumer protection area, he served on the Plaintiffs’ Steering Committee in the
Baycol Products Litigation where there have been more than $350 million in settlements.
Additionally, he is serving as one of the Co-lead Counsel in In re RC2 Corp. Toy Lead Paint
Products Liability Litigation pending in the Northern District of Illinois.



                                                 11
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 14 of 37




       Mr. Fox is listed in the current editions of New York Super Lawyers and was recognized
in Benchmark Litigation as a New York “Litigation Star.”
       Mr. Fox is the author of “Current Issues and Strategies in Discovery in Securities
Litigation,” ATLA, 1989 Reference Material; “Securities Litigation: Updates and Strategies,”
ATLA, 1990 Reference Material; and “Contributory Trademark Infringement: The Legal Standard
after Inwood Laboratories, Inc. v. Ives Laboratories,” University of Bridgeport Law Review, Vol.
4, No. 2.
       During law school, Mr. Fox was the notes and comments editor of the University of
Bridgeport Law Review.
   Education:
       ▪    B.A., Queens College (1981)
       ▪    J.D., Bridgeport School of Law (1984)
   Bar Affiliations and Court Admissions:
       ▪    Bar of the State of New York (1985)
       ▪    Bar of the District of Columbia (2013)
       ▪    U.S. Supreme Court
       ▪    U.S. Courts of Appeals for the First, Second, Fourth, Sixth and Eleventh Circuits
       ▪    U.S. District Courts for the Southern and Eastern Districts of New York, the District of
            Colorado and the District of Columbia
   Professional Affiliations:
       ▪    Association of the Bar of the City of New York and American Bar Association
       ▪    Federal Bar Council
       ▪    Association of Trial Lawyers of America (Chairman, Commercial Law Section,
            1991-92)
Mr. Fox can be reached by email at: FFox@kaplanfox.com


       GREGORY K. ARENSON is principally a plaintiffs’ antitrust lawyer. He has been
ranked as a Super Lawyer for several years. Among other matters, he has argued the appeals in In
re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651 (7th Cir. 2002), and In re Hydrogen
Peroxide Antitrust Litig., 552 F.3d 305 (3d Cir. 2009).




                                                 12
          Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 15 of 37




          Mr. Arenson has been a partner in Kaplan Fox & Kilsheimer LLP since 1993. Prior to
joining Kaplan Fox, he was a partner with Proskauer Rose LLP. Earlier in his career, he was a
partner with Schwartz Klink & Schreiber and an associate with Rudnick & Wolfe (now DLA
Piper).
          Mr. Arenson is active in the New York State Bar Association. He has been a member of
the House of Delegates since 2013 and has been Vice Chair of the Section Delegates Caucus. He
was Chair of the Commercial and Federal Litigation Section from June 2013 through May 2014.
He has been Co-Chair of the New York State Bar Association Task Force on the State of Our
Courthouses, whose report was adopted by the House of Delegates on June 20, 2009; a member
of the New York State Bar Association Special Committee on Standards for Pleadings in Federal
Litigation, whose report was adopted by the House of Delegates on June 19, 2010; and a member
of the New York State Bar Association Special Committee on Discovery and Case Management
in Federal Litigation, whose report was adopted by the House of Delegates on June 23, 2012.
          Mr. Arenson has written frequently on discovery issues. His published articles include:
“Rule 68 Offers of Judgment and Mootness, Especially for Collective or Class Actions, 20 NY
LITIGATOR 25 (2015); “Report on Proposed Amendments to Federal Rule of Civil Procedure 45,”
17 NY LITIGATOR 21 (2012); “Rule 8 (a)(2) After Twombly: Has There Been a Plausible Change?”
14 NY LITIGATOR 23 (2009); “Report on Proposed Federal Rule of Evidence 502,” 12 NY
LITIGATOR 49 (2007); “Report: Treating the Federal Government Like Any Other Person: Toward
a Consistent Application of Rule 45,” 12 NY LITIGATOR 35 (2007); “Report of the Commercial
and Federal Litigation Section on the Lawsuit Abuse Reduction Act of 2005,” 11 NY LITIGATOR
26 (2006); “Report Seeking To Require Party Witnesses Located Out-Of-State Outside 100 Miles
To Appear At Trial Is Not A Compelling Request,” 11 NY LITIGATOR 41 (2006); “Eliminating a
Trap for the Unwary: A Proposed Revision of Federal Rule of Civil Procedure 50,” 9 NY
LITIGATOR 67 (2004); “Committee Report on Rule 30(b)(6),” 9 NY LITIGATOR 72 (2004); “Who
Should Bear the Burden of Producing Electronic Information?” 7 FEDERAL DISCOVERY NEWS, No.
5, at 3 (April 2001); “Work Product vs. Expert Disclosure – No One Wins,” 6 FEDERAL DISCOVERY
NEWS, No. 9, at 3 (August 2000); “Practice Tip: Reviewing Deposition Transcripts,” 6 FEDERAL
DISCOVERY NEWS, No. 5, at 13 (April 2000); “The Civil Procedure Rules: No More Fishing
Expeditions,” 5 FEDERAL DISCOVERY NEWS, No. 9, at 3 (August 1999); “The Good, the Bad and
the Unnecessary: Comments on the Proposed Changes to the Federal Civil Discovery Rules,” 4



                                                13
        Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 16 of 37




 NY LITIGATOR 30 (1998); and “The Search for Reliable Expertise: Comments on Proposed
 Amendments to the Federal Rules of Evidence,” 4 NY LITIGATOR 24 (1998). He was co-editor of
 FEDERAL RULES OF CIVIL PROCEDURE, 1993 AMENDMENTS, A PRACTICAL GUIDE, published by the
 New York State Bar Association; and a co-author of “Report on the Application of Statutes of
 Limitation in Federal Litigation,” 53 ALBANY LAW REVIEW 3 (1988).
        Mr. Arenson serves as a mediator in the U.S. District Court for the Southern District of
New York. In addition, he is an active alumnus of the Massachusetts Institute of Technology,
having served as a member of the Corporation, a member of the Corporation Development
Committee, vice president of the Association of Alumni/ae, member of the Alumni Association
Selection Committee, and member of the Annual Fund Board (of which he was a past chair).
    Education:
        ▪   S.B., Massachusetts Institute of Technology (1971)
        ▪   J.D., University of Chicago (1975)
    Bar Affiliations and Court Admissions:
        ▪   Bar of the State of Illinois (1975)
        ▪   Bar of the State of New York (1978)
        ▪   U.S. Supreme Court
        ▪   U.S. Courts of Appeals for the Second, Third and Seventh Circuits
        ▪   U.S. District Courts for the Northern and Central Districts of Illinois, and the Southern
            and Eastern Districts of New York
        ▪   U.S. Tax Court
 Mr. Arenson can be reached by email at: GArenson@kaplanfox.com


        LAURENCE D. KING joined Kaplan Fox in 1994 and has more than 20 years of
 experience in securities and other complex litigation. He is an experienced trial lawyer. He is also
 partner-in-charge of the firm’s San Francisco and Los Angeles offices.
        Mr. King has played a substantial role in cases that have resulted in some of the largest
 recoveries ever obtained by Kaplan Fox, including In re Bank of America Corp. Securities,
 Derivative, and ERISA Litigation (S.D.N.Y.), In re Baycol Products Litigation (E.D. Pa.), In re
 3Com Securities Litigation (N.D. Cal.), In re Informix Securities Litigation (N.D. Cal.), AOL Time
 Warner Cases I & II (Ca. Super. Ct., L.A. Cty.) and Providian Credit Card Cases (Ca. Super. Ct.,



                                                  14
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 17 of 37




S.F. Cty.). In addition, Mr. King was a member of the trial team for two securities class actions
tried to verdict, as well as several other cases where a favorable settlement was achieved on the
eve of trial.
        An experienced trial lawyer, prior to joining Kaplan Fox Mr. King served as an assistant
district attorney under the legendary Robert Morgenthau in the Manhattan (New York County,
New York) District Attorney’s office, where he tried numerous felony prosecutions to a jury
verdict. At Kaplan Fox, he was a member of the trial team for two class actions tried to verdict, In
re Biogen Securities Litigation (D. Mass.) and In re Health Management Securities Litigation
(E.D.N.Y.). Mr. King has also participated in trial preparation for numerous other cases in which
favorable settlements were achieved for our clients on or near the eve of trial.
        Mr. King was selected for inclusion in Northern California SuperLawyers for 2012 and
2013, and from 2011-13, he served as a Vice-Chair, and then as Co-Chair, of the American
Association for Justice’s Class Action Litigation Group.
    Education:
        ▪   B.S., Wharton School of the University of Pennsylvania (1985)
        ▪   J.D., Fordham University School of Law (1988)
    Bar Affiliations and Court Admissions:
        ▪   Bar of the State of New York (1989)
        ▪   Bar of the State of California (2000)
        ▪   U.S. Court of Appeals for the Second, Third, Fifth, Ninth and Tenth Circuits
        ▪   U.S. District Courts for the District of New Jersey, the Eastern District of Pennsylvania,
            the Southern and Eastern Districts of New York, and the Northern, Central and
            Southern Districts of California
    Professional Affiliations:
        ▪   Bar Association of San Francisco
        ▪   American Bar Association
        ▪   American Association for Justice
        ▪   San Francisco Trial Lawyers’ Association
        ▪   American Business Trial Lawyers
Mr. King can be reached by email at: LKing@kaplanfox.com




                                                 15
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 18 of 37




       JOEL B. STRAUSS first associated with Kaplan Fox in 1992 and became a partner of the
firm in 1999. He practices in the area of securities and consumer fraud class action litigation, with
a special emphasis on accounting and auditing issues.
       Prior to joining Kaplan Fox, Mr. Strauss served as a senior auditor with Coopers & Lybrand
(n/k/a PwC). Combining his accounting background and legal skills, he has played a critical role
in successfully prosecuting numerous securities class actions across the country on behalf of public
pension fund clients. Mr. Strauss was one of the lead trial lawyers for the plaintiffs in the first
case to go to trial and verdict under the Private Securities Litigation Reform Act of 1995.
       More recently Mr. Strauss has been involved in representing the firm’s institutional clients
in the following securities class actions, among others: In re Merrill Lynch & Co., Inc. Securities,
Derivative and ERISA Litigation (S.D.N.Y.) ($475 million settlement); In re Prestige Brands
Holdings Inc. Securities Litigation (S.D.N.Y.) ($11 million settlement); In re Gentiva Securities
Litigation (E.D.N.Y.) ($6.5 million settlement); In re SunPower Securities Litigation (N.D. Cal.)
($19.7 million); and In re Rocket Fuel, Inc. Securities Litigation, (N.D. Cal.) ($3.15 million
settlement). He has also served as lead counsel for lead plaintiffs in In re OCA, Inc. Securities
Litigation (E.D. La.) ($6.5 million settlement) and In re Proquest Company Securities Litigation
(E.D. Mich.) ($20 million settlement). Mr. Strauss also played an active role for plaintiff investors
in In re Countrywide Financial Corporation Securities Litigation (C.D. Cal.) which settled for
more than $600 million.
In the consumer protection area, Mr. Strauss served as Co-Chair of the Non-Party Discovery
Committee in In re Baycol Products Litigation, MDL No. 1431-MJD/JG (D. Minn.) ($350 million
in settlements), a class action brought on behalf of consumers who took a dangerous and defective
drug which was recalled from the market.
       Mr. Strauss is also active in the firm’s growing data privacy practice. In July 2017, he
moderated a panel on U.S. Data Privacy Laws at a conference in Tel Aviv.
Although currently practicing exclusively as a lawyer, Mr. Strauss is a licensed Certified Public
Accountant in the State of New York.
       Mr. Strauss has also been a guest lecturer on the topics of securities litigation, auditors’
liability and class actions for seminars sponsored by the Practicing Law Institute and the
Association of the Bar of the City of New York.




                                                 16
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 19 of 37




   Education:
       ▪    B.A., Yeshiva University (1986)
       ▪    J.D., Benjamin N. Cardozo School of Law (1992)
       ▪    HBX/Harvard Business School, Certificate in Entrepreneurship Essentials (2017)
   Bar Affiliations and Court Admissions:
       ▪    Bar of the State of New Jersey
       ▪    Bar of the State of New York
       ▪    U.S. Court of Appeals for the First, Second and Third Circuits
       ▪    U.S. District Courts for the Southern and Eastern Districts of New York and the District
            of New Jersey
   Professional Affiliations:
       ▪    American Bar Association
       ▪    Association of the Bar of the City of New York
       ▪    New York State Bar Association (member, Committee on Legal Education and
            Admission to the Bar)
       ▪    American Institute of Certified Public Accountants
Mr. Strauss can be reached by email at: JStrauss@kaplanfox.com


       HAE SUNG NAM joined Kaplan Fox in 1999 and became a partner of the firm in 2005.
She has more than 18 years of experience in securities and other complex securities litigation. She
has been key member of the litigation teams prosecuting the firm’s highest-profile cases, including
the securities case against Bank of America that settled for $2.425 billion. Ms. Nam also has a
focus on prosecuting opt-out actions on behalf of the firm’s public pension fund clients and played
a significant role in AOL Time Warner Cases I & II and State Treasurer of the State of Michigan
v. Tyco International, Ltd., No. 08-cv-1340 (D.N.H.). Ms. Nam was also one of the core team
members that recently prosecuted and settled an opt-out action on behalf of Ohio PERS arising out
of the fraud at Petrobras in Brazil.
       Prior to joining the firm, Ms. Nam was an associate with Kronish Lieb Weiner & Hellman
LLP, where she trained as a transactional attorney in general corporate securities law and mergers
and acquisitions. She also served as an intern for the U.S. Department of Justice, Antitrust
Division.



                                                 17
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 20 of 37




       Ms. Nam graduated, magna cum laude, with a dual degree in political science and public
relations from Syracuse University’s Maxwell School and S.I. Newhouse School of Public
Communications. Ms. Nam obtained her law degree, with honors, from George Washington
University Law School. During law school, Ms. Nam was a member of the George Washington
University Law Review. She is the author of a case note, “Radio – Inconsistent Application Rule,”
64 Geo. Wash. L. Rev. (1996). In addition, she also served as an intern for the U.S. Department
of Justice, Antitrust Division.
   Education:
       ▪   B.A., magna cum laude, Syracuse University (1994)
       ▪   J.D., with honors, George Washington University School of Law (1997)
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of New York (1998)
       ▪   U.S. Court of Appeals for the Eleventh Circuit
       ▪   U.S. District Courts for the Southern and Eastern Districts of New York, and Eastern
           District of Wisconsin
Ms. Nam can be reached by email at: HNam@kaplanfox.com


       DONALD R. HALL has been associated with Kaplan Fox since 1998 and became a
partner of the firm in 2005. Mr. Hall has more than 19 years of experience in securities and
complex litigation. He is actively involved in counseling the firm’s institutional clients on seeking
redress in foreign jurisdictions or bringing an individual action in the U.S. to adequately protect
and recover lost assets involving foreign securities.
       Mr. Hall was a member of the trial team prosecuting In re Bank of America, which settled
for $2.425 billion, the single largest securities class action recovery for violations of Section 14(a)
of the Exchange Act and one of the top securities litigation settlements obtained in history. He
currently represents a number of the firm’s institutional investor clients in securities class actions,
including in In re Eletrobras Secs. Litig., Case No. 15-cv-5754 as co-lead counsel in a class action
against a Brazilian company and in Kasper v. AAC Holdings, Inc., No. 15-cv-00923, also as co-
lead counsel. Mr. Hall successfully represented institutional clients in In re Merrill Lynch, which
settled for $475 million; In re Fannie Mae 2008, which settled for $170 million; In re Ambac
Financial Group, Inc. Securities Litigation, No. 08-cv-411 (S.D.N.Y.) (“In re Ambac”); In re



                                                  18
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 21 of 37




Majesco Securities Litigation, No. 05-cv-3557 (D.N.J.); and In re Escala Group, Inc. Secs. Litig.,
No. 05-cv-3518 (S.D.N.Y.) (“In re Escala”). Additionally, he was a member of the litigation team
in AOL Time Warner Cases I & II, an opt-out action brought by institutional investors that settled
just weeks before trial, resulting in a recovery of multiples of what would have been obtained had
those investors remained members of the class action.
       Mr. Hall has played a key role in many of the firm’s securities and antitrust class actions
resulting in substantial recoveries for the firm’s clients, including In re Merrill Lynch Research
Reports Securities Litigation (arising from analyst reports issued by Henry Blodget); In re Salomon
Analyst Williams Litigation and In re Salomon Focal Litigation (both actions stemming from
analyst reports issued by Jack Grubman); In re Flat Glass Antitrust Litigation; and In re Compact
Disc Antitrust Litigation.
       Mr. Hall graduated from the College of William and Mary in 1995 with a B.A. in
Philosophy and obtained his law degree from Fordham University School of Law in 1998. During
law school, Mr. Hall was a member of the Fordham Urban Law Journal and a member of the
Fordham Moot Court Board. He also participated in the Criminal Defense Clinic, representing
criminal defendants in federal and New York State courts on a pro-bono basis.
   Education:
       ▪   B.A., College of William and Mary (1995)
       ▪   J.D., Fordham University School of Law (1998)
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of Connecticut
       ▪   Bar of the State of New York
       ▪   U.S. Supreme Court
       ▪   U.S. Courts of Appeals for the First, Second and Eleventh Circuits
       ▪   U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
       ▪   American Bar Association
       ▪   Association of Trial Lawyers of America
       ▪   New York State Bar Association
Mr. Hall can be reached by email at: DHall@kaplanfox.com




                                                19
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 22 of 37




       JEFFREY P. CAMPISI first associated with Kaplan Fox in 2004 and became a partner
of the firm in 2012. He has more than 15 years of experience in securities and other complex
litigation. Mr. Campisi currently represents Arkansas Teacher Retirement System, co-lead plaintiff
in Kasper v. AAE Holdings, Inc. et al., 15-cv-923 (M.D. Tenn.).
 Mr. Campisi recently represented institutional investors in the following class actions: In re
Fannie Mae 2008 ($170 million settlement); In re Merrill Lynch ($475 million settlement); In re
Sequenom (approximately $70 million in cash and stock recovered by the time of distribution,
along with corporate governance reforms); and In re Escala.
       Mr. Campisi served as law clerk for Herbert J. Hutton, United States District Court Judge
for the Eastern District of Pennsylvania.
   Education:
       ▪      B.A., cum laude, Georgetown University (1996)
       ▪      J.D., summa cum laude, Villanova University School of Law (2000)
              Member of Law Review and Order of the Coif
   Bar affiliations and court admissions:
       ▪      Bar of the State of New York
       ▪      U.S. Courts of Appeals for the Ninth and Tenth Circuits
       ▪      U.S. District Courts for the Southern and Eastern Districts of New York, and Western
              District of Tennessee
   Professional affiliations:
       ▪      Federal Bar Council
       ▪      American Association for Justice
Mr. Campisi can be reached by email at: jcampisi@kaplanfox.com


       MELINDA CAMPBELL first associated with Kaplan Fox in 2004 and became a partner
of the firm in 2012. She has more than 10 years of experience in securities and other complex
litigation. Mrs. Campbell has represented public pension funds in In re Bank of America, In re
Ambac, In re Fannie Mae 2008, and AOL Time Warner Cases I & II, and represented individual
shareholders and the class in Van Roden v. Termeer Securities Litigation, No. 02-cv-12146(NG)
(D. Mass.).




                                                 20
      Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 23 of 37




       Mrs. Campbell obtained her J.D. from the University of Pennsylvania Law School. While
attending law school, she successfully represented clients of the Civil Practice Clinic of the
University of Pennsylvania Law School and provided pro bono legal services through
organizations including the Southern Poverty Law Center.          Mrs. Campbell obtained her
undergraduate degree from the University of Missouri (cum laude).
       Mrs. Campbell is an active member in the Federal Courts Committee of the New York
County Lawyers Association and served as a panelist in a continuing legal education course
offered by the Committee concerning waiver of attorney-client privilege under Federal Rule of
Evidence 501. Additionally, Mrs. Campbell is a member of the New York State Bar Association,
the National Association of Women Lawyers, and the New York Women’s Bar Association.
   Education:
       ▪   B.A., University of Missouri (2000)
       ▪   J.D., University of Pennsylvania Law School (2004)
   Bar affiliations and court admissions:
      ▪ Bar of the State of New York (2005)
       ▪   U.S. Courts of Appeals for the First, Second and Eleventh Circuits
       ▪   U.S. District Courts for the Southern and Eastern Districts of New York
   Professional affiliations:
       ▪   American Bar Association
       ▪   New York State Bar Association
       ▪   New York County Lawyers Association
       ▪   New York Women’s Bar Association
       ▪   National Association of Women Lawyers
Mrs. Campbell can be reached by email at: MCampbell@kaplanfox.com


       ELANA KATCHER became an associate with Kaplan Fox in July 2007 and has been a
partner since January 2016. She primarily practices in the area of antitrust law and complex
commercial litigation.
       As an attorney at Kaplan Fox she has participated in the successful litigation and complex
bellwether trial of a RICO action brought by a third-party payor against a major pharmaceutical
company for the fraudulent marketing of a blockbuster drug for uses for which it was not approved



                                                 21
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 24 of 37




and for which it was not effective. She continues to play a principal role in ongoing price-fixing
litigation against 30 international air cargo carriers.
        Prior to Kaplan Fox, she was an associate at Sullivan & Cromwell LLP and King &
Spalding LLP, where she participated in the defense of major companies, including at trial and in
arbitration.
    Education:
        ▪      B.A. Oberlin College
        ▪      J.D., New York University
    Bar Affiliations and Court Admissions:
         ▪     Bar of the State of New York
         ▪     U.S. District Courts for the Southern and Eastern Districts of New York
    Professional Affiliations:
        ▪      New York State Bar Association
        ▪      New York City Bar Association
Ms. Katcher can be reached by email at: ekatcher@kaplanfox.com


        MATTHEW P. McCAHILL was associated with Kaplan Fox from 2003 to 2005, re-
joined the firm in May 2013 and became a partner in 2016. He practices in the areas of antitrust
and securities litigation, as well as commercial litigation. From 2006 to early 2013, Mr. McCahill
was an associate at Berger & Montague, P.C. in Philadelphia. While focusing on insurance and
antitrust class action cases, including In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litigation, MDL No. 1720 (E.D.N.Y.) and Ormond et al. v. Anthem, Inc. et al., Case No.
1:05-cv-01908-TWP-TAB (N.D. Ind.) (related to the demutualization of Anthem Insurance, which
settled for $90 million in 2012), he also represented corporations and bankruptcy trustees in
commercial litigation involving claims for breach of contract, breach of fiduciary duty and
fraudulent conveyance.
        Mr. McCahill’s practice includes representation of plaintiffs opting out of class actions.
He currently represents large retailers who opted out of the Payment Card class to pursue their
own antitrust actions against Visa and MasterCard challenging the networks’ merchant rules and
their interchange (or “swipe”) fees. Among the merchants he and the firm represent in that case
are E-Z Mart Stores, Inc., Sunoco, LP (formerly known as Susser Holdings Corp., operator of the



                                                  22
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 25 of 37




Stripes® convenience store chain), Jacksons Food Stores, Sheetz, Inc., Kum & Go, L.C., Einstein
Noah Restaurant Group, Furniture Row, Inc. and NPC International, Inc. (the world’s largest
franchisee of Pizza Hut restaurants).
       Mr. McCahill is part of the Kaplan Fox team representing large grocery chains and food
distributors (including Giant Eagle, Inc., Associated Food Stores, Inc., Affiliated Foods, Inc.,
Western Family Foods, Inc. and the McLane Company, Inc., among others) in individual actions
in In re Packaged Seafood Products Antitrust Litigation, MDL No. 2670 (S.D. Cal.), alleging
price-fixing and other antitrust violations against Tri-Union Seafoods, LLC (d/b/a Chicken of the
Sea), Bumble Bee Foods, LLC, and others. He and other Kaplan Fox lawyers are also representing
the Ohio Public Employees Retirement System in an individual securities fraud action against
Brazilian energy conglomerate Petrobras in In re Petrobras Securities Litigation, Civ. Action No.
14-cv-9662 (JSR) (S.D.N.Y.).
       Mr. McCahill’s current and past involvement in class action litigation at Kaplan Fox
includes: In re Cast Iron Soil Pipe Antitrust Litigation, MDL No. 2508 (E.D. Tenn.), where he
currently represents a proposed class of direct purchasers of cast iron soil pipes and fittings in an
antitrust case against the Cast Iron Soil Pipe Institute, Charlotte Pipe & Foundry Co. and McWane,
Inc. and its subsidiaries; In re SandRidge Energy, Inc. Shareholder Derivative Litigation, No. CIV-
13-102-W (W.D. Okla.) (partial settlement of $38 million); In re Neurontin Antitrust Litigation,
MDL No. 1479 (D.N.J.) (delayed-generic entry action brought by direct purchasers of Pfizer’s
drug Neurontin, which settled for $190 million following nearly 12 years of litigation).
       In 2014, 2015 and 2016, Mr. McCahill was named a “New York Metro Super Lawyer –
Rising Star” in antitrust litigation and was selected as a “Pennsylvania Super Lawyer – Rising
Star” (also in antitrust litigation) in 2012 and 2013. He is a member of the American, Pennsylvania
State, New York State and New York City bar associations. Mr. McCahill’s pro bono efforts focus
primarily on representing Marine Corps veterans in benefits proceedings before the Veterans
Administration.
   Education:
        ▪   B.A., History, summa cum laude, Rutgers College (2000)
        ▪   J.D., Fordham Law School (2003)
   Bar Affiliations and Court Admissions:
        ▪   Bars of the State of New York and the Commonwealth of Pennsylvania



                                                 23
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 26 of 37




        ▪   U.S. Court of Appeals for the Second Circuit
        ▪   U.S. District Courts for the Southern and Eastern Districts of New York and the
            Eastern District of Pennsylvania
   Professional Affiliations:
        ▪   American Bar Association
        ▪   New York State Bar Association
        ▪   Pennsylvania Bar Association
        ▪   Association of the Bar of the City of New York
Mr. McCahill can be reached by email at: mmccahill@kaplanfox.com

       DAVID A. STRAITE joined the New York office of Kaplan Fox in 2013 and became a
partner in 2017. He focuses on digital privacy litigation, helping to protect consumer privacy in
class actions against Facebook, Google, Yahoo and others. In 2012, M.I.T. Technology Review
magazine called Mr. Straite “something of a pioneer” in digital privacy litigation. Mr. Straite also
protects investors in securities, corporate governance, and hedge fund litigation. Prior to joining
the firm, Mr. Straite helped launch the US offices of London-based Stewarts Law LLP, where he
was the global head of investor protection litigation, the partner in residence in New York, and a
member of the US executive committee. Prior to Stewarts Law he worked in the Delaware office
of Grant & Eisenhofer and the New York office of Skadden Arps.
       Mr. Straite speaks frequently on topics related to both privacy and investor
protection. Most recently he was a featured panellist on the "Data Privacy and Article III
Standing" panel at the Federal Bar Council's 2017 Winter Meeting along with Dean Erwin
Chemerinsky and the Hon. Lorna Schofield. Prior events included being a featured speaker at the
St. John’s University “Cyber Law” CLE weekend in February 2016, and a featured panellist the
hedge fund panel at the February 6, 2013 meeting of the National Association of Public Pension
Attorneys in Washington, D.C. (“Structuring Investments – Do I Get to Go to the Cayman
Islands?”). David also debated the general counsel of Meetup, Inc. during 2013 Social Media Week
(“David vs. Goliath: The Global Fight for Digital Privacy”) and gave a guest lecture on the Legal
Talk Network’s “Digital Detectives” podcast. He has also given interviews to Channel 10 (Tel
Aviv), BBC World News (London), SkyNews (London), CBS Ch. 2 (New York) and CBS news




                                                24
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 27 of 37




radio (Philadelphia). Mr. Straite is also an adjunct professor at Yeshiva University's Sy Syms
School of Business, teaching Business Law and Ethics for the Fall semester (2015 and 2016).
       Mr. Straite has co-authored Google and the Digital Privacy Perfect Storm in E-Commerce
Law Reports (UK) (2013), authored Netherlands: Amsterdam Court of Appeal Approves
Groundbreaking Global Settlements Under the Dutch Act on the Collective Settlement of Mass
Claims, in The International Lawyer’s annual “International Legal Developments in Review”
(2009), and was a contributing author for Maher M. Dabbah & K.P.E. Lasok, QC, Merger Control
Worldwide (2005).
       Mr. Straite’s recent litigation includes co-leading a class of investors in In re: CSO Hedge
Fund Litigation New York federal court (settlement approved January 2016); pursuing digital
privacy claims as co-class counsel in In re: Facebook Internet Tracking Litigation and In re Yahoo
Mail Litigation in California (settlement approved August 2016) and In re: Google Inc. Cookie
Placement Consumer Privacy Litigation in Delaware; pursuing corporate governance claims in
Delaware Chancery Court in a number of matters; and helping to develop the first multi-claimant
test of the UK’s new prospectus liability statute in a case against the Royal Bank of Scotland in
the English courts.
   Education:
       ▪   B.A., Tulane University, Murphy Institute of Political Economy (1993)
       ▪   J.D., magna cum laude, Villanova University School of Law (1996), Managing Editor,
           Law Review and Order of the Coif
   Bar affiliations and court admissions:
       ▪   Bar of the State of New York (2000)
       ▪   Bar of the State of Delaware (2009)
       ▪   Bar of the State of Pennsylvania (1996)
       ▪   Bar of the State of New Jersey (1996)
       ▪   Bar of the District of Columbia (2008)
       ▪   U.S. District Courts for the Southern and Eastern Districts of New York; Eastern
           District of Pennsylvania; and the District of Delaware
       ▪   U.S. Courts of Appeals for the Second, Third and Ninth Circuits
   Professional affiliations:
       ▪   American Bar Association



                                                 25
        Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 28 of 37




                     -   Section of Litigation (Privacy and Data Security Committee)
                     -   Section of Business Law
         ▪   Delaware Bar Association
         ▪   New York American Inn of Court (Master of the Bench)
         ▪   Internet Society
 Mr. Straite can be reached by email at: dstraite@kaplanfox.com

 OF COUNSEL
         GARY L. SPECKS practices primarily in the area of complex antitrust litigation. He has
 represented plaintiffs and class representatives at all levels of litigation, including appeals to the
 U.S. Courts of Appeals and the U.S. Supreme Court. In addition, Mr. Specks has represented
 clients in complex federal securities litigation, fraud litigation, civil RICO litigation, and a variety
 of commercial litigation matters. Mr. Specks is resident in the firm’s Chicago office.
         During 1983, Mr. Specks served as special assistant attorney general on antitrust matters
 to Hon. Neil F. Hartigan, then Attorney General of the State of Illinois.
     Education:
         ▪   B.A., Northwestern University (1972)
         ▪   J.D., DePaul University College of Law (1975)
     Bar Affiliations and Court Admissions:
         ▪   Bar of the State of Illinois (1975)
         ▪   U.S. Courts of Appeals for the Third, Fifth, Seventh, Ninth and Tenth Circuits
         ▪   U.S. District Court for the Northern District of Illinois, including Trial Bar
     Professional Affiliations:
         ▪   American Bar Association
         ▪   Illinois Bar Association
         ▪   Chicago Bar Association
Mr. Specks can be reached by email at: GSpecks@kaplanfox.com


         W. MARK MCNAIR practices in the area of securities litigation with a special emphasis
 on institutional investor involvement. He associated with the firm in 2003, and is resident in




                                                   26
          Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 29 of 37




Washington, D.C. Prior to entering private practice, he was an attorney at the Securities and
Exchange Commission and the Municipal Securities Rulemaking Board.
    Education:
          ▪   B.A. with honors, University of Texas at Austin (1972)
          ▪   J.D. University of Texas at Austin (1975)
          ▪   L.L.M. (Securities) Georgetown University (1989)
Mr. McNair can be reached at MMcnair@kaplanfox.com


          WILLIAM J. PINILIS practices in the areas of commercial, consumer and securities class
action litigation.
          He has been associated with Kaplan Fox since 1999 and is resident in the firm’s New Jersey
office.
          In addition to his work at the firm, Mr. Pinilis has served as an adjunct professor at Seton
Hall School of Law since 1995 and is a lecturer for the New Jersey Institute for Continuing Legal
Education. He has lectured on consumer fraud litigation and regularly teaches the mandatory
continuing legal education course Civil Trial Preparation.
          Mr. Pinilis is the author of “Work-Product Privilege Doctrine Clarified,” New Jersey
Lawyer, Aug. 2, 1999; “Consumer Fraud Act Permits Private Enforcement,” New Jersey Law
Journal, Aug. 23, 1993; “Lawyer-Politicians Should Be Sanctioned for Jeering Judges,” New
Jersey Law Journal, July 1, 1996; “No Complaint, No Memo – No Whistle-Blower Suit,” New
Jersey Law Journal, Sept. 16, 1996; and “The Lampf Decision: An appropriate Period of
Limitations?” New Jersey Trial Lawyer, May 1992.
    Education:
          ▪   B.A., Hobart College (1989)
          ▪   J.D., Benjamin Cardozo School of Law (1992)
    Bar Affiliations and Court Admissions:
          ▪   Bar of the State of New Jersey (1992)
          ▪   Bar of the State of New York (1993)
          ▪   U.S. District Courts for the District of New Jersey, and the Southern and Eastern
              Districts of New York




                                                  27
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 30 of 37




   Professional Affiliations:
       ▪   Morris County Bar Association
       ▪   New Jersey Bar Association
       ▪   Graduate, Brennan Inn of Court
Mr. Pinilis can be reached by email at: WPinilis@kaplanfox.com


       JUSTIN B. FARAR joined Kaplan Fox in March 2008. He practices in the area of
securities and antitrust litigation with a special emphasis on institutional investor involvement. He
is located in the Los Angeles office. Prior to joining the firm, Mr. Farar was a litigation associate
at O’Melveny & Myers, LLP and clerked for the Honorable Kim McLane Wardlaw on the Ninth
Circuit Court of Appeals. Mr. Farar also currently serves as a Commissioner to the Los Angeles
Convention and Exhibition Authority.
   Education:
       ▪   J.D., order of the coif, University of Southern California Law School (2000)
       ▪   B.A., with honors, University of California, San Diego
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of California (2000)
       ▪   U.S. Court of Appeals for the Ninth Circuit (2000)
       ▪   U.S. District Court for the Central of California (2000)
   Awards:
       ▪   The American Society of Composers, Authors and Publishers’ Nathan Burkan Award
           Winner, 2000 for article titled “Is the Fair Use Defense Outdated?”
Mr. Farar can be reached by email at: JFarar@kaplanfox.com


       GEORGE F. HRITZ joined Kaplan Fox in 2014. He has extensive experience handling
sophisticated litigation, arbitration and other disputes for well-known corporate clients and
providing crisis management and business-oriented legal and strategic advice to a broad range of
U.S. and international clients, including those with small or no U.S. legal departments, often acting
as de facto U.S. general counsel. Mr. Hritz has tried, managed and otherwise resolved large-scale
matters for major financial and high-tech institutions and others in numerous venues throughout




                                                 28
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 31 of 37




the U.S. and overseas. He has had great success in resolving disputes creatively by effectively
achieving consensus among all the parties involved, often with considerable savings for his clients.
       Mr. Hritz clerked for a federal district judge in New York and spent his associate years at
Cravath, Swaine & Moore, one of the leading business litigation firms in the world. He was a
partner at Hogan Lovells and predecessor firms for many years. Since 2011, Mr. Hritz has
represented both defendants and plaintiffs in resolving international disputes and provided
strategic advice and assisted clients on managing of other counsel, including monitoring law firm
and consultant performance and billing.
   Education:
       ▪   A.B., Princeton University
       ▪   J.D., Columbia University School of Law (Harlan Fiske Stone Scholar)
   Bar affiliations and court admissions:
       ▪   New York (1974)
       ▪   U.S. Supreme Court; U.S. Courts of Appeals for the Second, Third, Fourth, Eleventh
           and D.C. Circuits; numerous U.S. District Courts
    Professional affiliations:
       ▪   Federal Bar Council (2d Circuit)
       ▪   Advisory Group of the U.S. District Court for the Eastern District of New York
Mr. Hritz can be reached by email at: ghritz@kaplanfox.com


       MATTHEW GEORGE is a complex litigation attorney at Kaplan Fox & Kilsheimer LLP
with a practice focused on data privacy, consumer protection, and employment/labor cases. He has
significant experience and expertise handling multidistrict litigation and other coordinated
proceedings in state and federal courts involving multiple parties and complex discovery issues.
       Matthew has been a strong advocate for consumer and patient privacy. He has served on
court-appointed lead counsel teams in notable cutting-edge data breach and information privacy
cases against Target, Adobe, Yahoo!, and Horizon Healthcare. In these and other cases he has
worked with cybersecurity experts to gain technical knowledge in data collection, management
and protection. He was recently appointed to the Plaintiffs’ Steering Committee in In re 21st
Century Oncology Data Breach Litigation, MDL No. 2737, pending in the Middle District of
Florida.



                                                29
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 32 of 37




       Matthew has also recovered unpaid overtime wages for thousands of workers across the
United States under state and federal law in over a dozen cases. His notable recoveries include
generating a $9.9 million settlement on behalf of retail employees and winning a two-week
arbitration representing misclassified account representatives against a Fortune 500 company.
Matthew has also recovered over $10 million for employees in cases alleging violations of the
WARN Act when the employees were not provided required notice before their terminations.
       He has also represented customers challenging deceptive business practices and has
worked to obtain significant recoveries in consumer fraud cases against companies including
Chase, Mercedes-Benz and The Ritz-Carlton. He currently represents consumers in cases against
HBO, Logitech, and Chipotle, among others. In addition to representing plaintiffs in class action
cases, Matthew has also represented institutional clients including labor unions and conducted a
risk management analysis for a multi-national health and wellness consumer product corporation.
       Matthew has been selected by his peers as a “Rising Star” by Northern California Super
Lawyers each year from 2011-2014 and was chosen as a “Super Lawyer” in 2016, the first year he
was eligible for the distinction. He has been a regular speaker at industry conventions and seminars
on topics ranging from arbitration, expert discovery, settlement strategies, and the rapidly changing
field of privacy law.
   Education:
       ▪   B.A., Political Science and Criminal Justice, magna cum laude, Chapman University
           (2002)
       ▪   J.D., The University of Michigan Law School (2005)
   Publications and Speaking Engagements:
       ▪   Expert Depositions: Promoting Expertise and Limiting Exposure –Bridgeport
           Continuing Legal Education “Mastering the Deposition” Seminar (January 2017)
       ▪   “How Viable Is the Prospect of Private Enforcement of Privacy Rights In The Age of
           Big Data? An Overview of Trends and developments In Privacy Class Actions” –
           Competition, The Journal of the Antitrust and Unfair Competition Law Section of the
           State Bar of California, Volume 24, No. 1 (Spring 2015)
       ▪   Panel Discussion of Sony Pictures Data Breach Cases – CNBC’s “Squawk On the
           Street” (December 2014)




                                                 30
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 33 of 37




       ▪   New and Developing Practice Areas – CAOC 53rd Annual Convention (November
           2014)
       ▪   Privacy Law Symposium – University of California, Hastings College of the La (April
           2014)
       ▪   Update On the Target Data Breach Litigation – HarrisMartin Target Data Breach MDL
           Conference (March 2014)
       ▪   Consumer Privacy Law – 8th Annual CAOC Class Action Seminar (February 2014)
       ▪   Privacy Litigation and Management: Strategies For Protection and Litigation –
           Bridgeport Continuing Legal Education Seminar (December 2012)
       ▪   Class Action Settlement Strategies and Mechanics – 12th Annual Bridgeport Class
           Action Litigation & Management Conference (April 2012)
       ▪   Developments In the Arbitration of Wage and Hour Disputes – Bridgeport 2010 Wage
           and Hour Conference (October 2010)
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of California
       ▪   U.S. District Courts for the Northern, Central, Southern and Eastern Districts of
           California, and the District of Colorado
       ▪   Ninth Circuit Court of Appeals
   Professional Affiliations:
       ▪   Bay Area Lawyers for Individual Freedom
       ▪   Consumer Attorneys of California (Diversity Committee)
       ▪   American Bar Association (Labor and Employment Section)
Mr. George can be reached by email at: mgeorge@kaplanfox.com


ASSOCIATES
       MARIO M. CHOI is an associate in the San Francisco office. He practices in the areas
of securities, antitrust, and consumer protection litigation, primarily in securities and consumer
protection. Mr. Choi has been involved in a number of securities class actions, including, among
others, In re Sunpower, In re Gentiva, In re Violin Memory, Inc. Securities Litigation (N.D. Cal.),
Schueneman v. Arena Pharmaceuticals, Inc., et al. (S.D. Cal.), and In re Rocket Fuel, Inc.
Securities Litigation (N.D. Cal.). Mr. Choi’s recent antitrust class actions include In re Keurig



                                                31
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 34 of 37




Green Mountain Single-Serve Coffee Antitrust Litigation (S.D.N.Y.) and In re Packaged Seafood
Products Antitrust Litigation (S.D. Cal.).         Mr. Choi also represents plaintiffs in consumer
protection litigation, including in such recent cases as In re Yahoo Mail Litigation (N.D. Cal.), In
re Facebook, Inc. Internet Tracking Litigation (N.D. Cal.), and Schneider v. Chipotle Mexican
Grill, Inc. (N.D. Cal.).
           During law school, Mr. Choi interned for the Honorable Bruce Selya, U.S. Circuit Judge
for the U.S. Court of Appeals for the First Circuit. After law school, Mr. Choi clerked for the
Honorable Richard B. Lowe, III, a justice of the New York Supreme Court.
    Education:
           ▪   B.A., Boston University (2000)
           ▪   M.A., Columbia University (2001)
           ▪   J.D., Northeastern University (2005)
    Bar Affiliations and Court Admissions:
           ▪   Bar of the State of New York (2006)
           ▪   Bar of the State of California (2006)
           ▪   U.S. Courts of Appeals for the Ninth Circuits
           ▪   U.S. District Courts for the Northern, Southern and Central Districts of California and
               the Southern District of New York
    Professional Affiliations:
           ▪   American Bar Association
           ▪   Asian American Bar Association – Bay Area
           ▪   Bar Association of San Francisco
Mr. Choi can be reached by email at: mchoi@kaplanfox.com


           PAMELA MAYER has been associated with Kaplan Fox since 2009. Since joining the
firm and given her combined legal and finance background, she is a dedicated full-time resource
in the firm’s Portfolio Monitoring and Case Evaluation Program. Working under the direction of
Mr. Fox and Mr. Hall and utilizing her combined legal and finance background, she investigates,
analyzes and evaluates securities claims on behalf of the firm’s pension fund and other institutional
clients.
           Prior to joining Kaplan Fox, Ms. Mayer was an Associate Director in the legal department
of Bear, Stearns & Co., Inc. directly involved in the defense of securities investigations and


                                                    32
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 35 of 37




litigations involving complex securities, mutual funds, specialist trading issues, initial public
offering quiet periods, as well as disclosures and conflicts of interest for investment advisors. Prior
to working at Bear Stearns, Ms. Mayer was the General Counsel and Vice President Business
Development of Interactive Video Technologies, Inc.
   Education:
        ▪   B.S., The University of Rochester
        ▪   J.D., The George Washington University
        ▪   M.B.A., Finance, The University of Michigan
   Bar Affiliations and Court Admissions:
        ▪   Bar of the State of New York
        ▪   U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
        ▪   New York State Bar Association
Ms. Mayer can be reached by email at: pmayer@kaplanfox.com


       JASON A. URIS has been associated with Kaplan Fox since May 2013. He practices in
the areas of securities, antitrust, and consumer litigation. He has recently been a member of the
litigation teams for various securities cases including In re Fannie Mae 2008, In re: CSO Hedge
Fund Litigation, and In re SandRidge Energy, Inc. Shareholder Derivative Litigation, No. CIV-
13-102-W (W.D. Okla.). He is currently involved in In re Cast Iron Soil Pipe Antitrust Litigation,
MDL No. 2508 (E.D. Tenn.), representing a proposed class of direct purchasers of cast iron soil
pipes and fittings in an antitrust case against the Cast Iron Soil Pipe Institute, Charlotte Pipe &
Foundry Co., and McWane, Inc. and its subsidiaries.
   Education:
       ▪    B.A., cum laude, Boston University (2011)
       ▪    J.D., Fordham University School of Law (2014)
   Bar Affiliations and Court Admissions:
       ▪    Bar of the State of New York (2015)
       ▪    U.S. District Courts for the Southern and Eastern Districts of New York
   Professional Affiliations:
       ▪    New York State Bar Association



                                                  33
       Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 36 of 37




Mr. Uris can be reached by email at: juris@kaplanfox.com


       AARON L. SCHWARTZ has been associated with Kaplan Fox since July 2017. He
practices securities, antitrust and consumer protection litigation.
       Prior to joining the firm, Mr. Schwartz was a Deputy Attorney General in the Pennsylvania
Office of Attorney General, Antitrust Section. As a Deputy Attorney General, Mr. Schwartz
conducted investigations, brought suit to enjoin anticompetitive corporate mergers, and prosecuted
pharmaceutical product-hopping schemes, market allocation schemes, and unfair trade practices.
   Education:
       ▪   B.A., University of Wisconsin—Madison (2009)
       ▪   J.D., The Pennsylvania State University—The Dickinson School of Law (2014)
   Bar Affiliations and Court Admissions:
       ▪   Bar of the Commonwealth of Pennsylvania
       ▪   U.S. Court of Appeals for the Third Circuit
       ▪   U.S. District Courts for the Eastern, Middle, and Western Districts of Pennsylvania
   Professional Affiliations:
       ▪    Pennsylvania Bar Association
       ▪   American Bar Association
Mr. Schwartz can be reached by email at: aschwartz@kaplanfox.com



       RALPH E. LABATON has been associated with Kaplan Fox since August 2016 where
he focuses on litigating complex securities and antitrust cases on behalf of institutional investors
and businesses, as well as on investigating and evaluating potential claims. Mr. Labaton is also
involved in litigating consumer protection and data privacy cases.
   Education:
       ▪   B.B.A., cum laude, Baruch College, Zicklin School of Business (2013)
       ▪   J.D., Cornell Law School (2016)
           ▪   Concentration in Business Law & Regulation
           ▪   CALI Award for Excellence, Securities Law Clinic
   Bar Affiliations and Court Admissions:
       ▪   Bar of the State of New York (2017)


                                                 34
      Case 3:18-cv-04865-EMC Document 71-6 Filed 10/09/18 Page 37 of 37




   Professional Affiliations:
      ▪   American Bar Association
Mr. Labaton can be reached by email at: rlabaton@kaplanfox.com




                                            35
